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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
 IBERIA CREDIT BUREAU, ET AL               LAFAYETTE-OPELOUSAS DIVISION

 VERSUS                                                          MAGISTRATE HANNA, JUDGE LEMELLE

 CINGULAR WIRELESS, ET AL                                        CIVIL NUMBER: 6:01-CV-2148
 SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO CERTIFY
      Plaintiffs submit this Memorandum in Support of their Motion To Certify Class against Defendant,

 Centennial Communications Corp., and related entities (hereinafter collectively referred to “Centennial”).

 Plaintiffs respectfully submit that this Court should certify a class of governmental entities of Centennial and that

 the procedure for representing same does not inhibit or prohibit Plaintiffs from certifying this matter as a class

 action.

 I.        BACKGROUND

           Plaintiffs identified 299 different entities and 2692 total wireless lines in Centennial’s production of its

 subscriber lists.1

 Louisiana Governmental Entity                            Number of Lines
 Acadia Parish Communications                             1
 Acadia Parish Police Jury                                1
 Acadia parish Police Jury                                5
 Acadia Parish School Board                               1
 Acadia Parish Sheriff Dept.                              2
 Acadia Parish Narcs. Division                            1
 Acadia/Evangeline Fire Protection                        1
 Allen Correctional Facility                              1
 Allen Parish Ambulance Dis # 1                           1
 Allen Parish District Attorney                           1
 Allen Parish District Judge                              1
 Allen Parish Libraries                                   1
 Allen Parish School Board                                2
 Allen Parish Sheriff Dept.                               4
 Allen Parish Tax Assessor                                2
 Allen Parish Tourist Commission                          1
 Avoyelles. Parish 12th Judicial Div A                    1
 Avoyelles. Parish 12th Judicial Div B                    1
 Avoyelles Parish                                         2
 Avoyelles Parish Assessors                               2
 Avoyelles Parish Police Jury                             2
 Avoyelles Parish Sheriff                                 259
 Beauregard Parish Assessors Office                       1
 Beauregard Parish School Board                           5
 Beauregard Parish Library                                1

 1 See Subscriber List (CD Roms), attached hereto, in globo, as Exhibit “1.”



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 Beauregard Parish Sheriff’s Office             5
 Bell City Police Jury                          2
 Boyce Police Department                        1
 Broussard Fire Department                      10
 Broussard Police                               8
 Broussard Volunteer F.D.                       1
 Bunkie Fire Department                         8
 C.G.U.D. of Grant Parish                       1
 Calcasieu Parish Head Start                    8
 Calcasieu Parish District Attorney             22
 Calcasieu Parish Health Unit Group             7
 Calcasieu Parish Main Group                    21
 Calcasieu Parish Police Jury                   13
 Calcasieu Parish Public Safety                 1
 Calcasieu Parish School Board                  14
 Calcasieu Parish Sheriff Dept                  84
 Calcasieu Ward One Fire Dept                   1
 Calcasieu Parish Police Jury                   2
 Caldwell Parish Ambulance                      1
 Caldwell Parish Correctional Center            2
 Caldwell Parish Sheriff's Office               2
 Cameron Parish Ambulance Dist. 2               4
 Cameron Parish Sheriffs Office                 1
 Cameron Parish Police Jury                     1
 Catahoula Parish 911 Comm. System              1
 Catahoula Parish Assessors Office              1
 Catahoula Police Jury                          1
 Catahoula Parish School Dist.                  1
 Catahoula Parish Sheriff's Office              2
 Catahoula Parish Work                          1
 City of Alexandria                             349
 City of Alexandria Police Dept.                1
 City of Alexandria Fire Dept.                  1
 City of Basile Police Dept.                    1
 City of Breaux Bridge                          1
 City of Breaux Bridge Police                   16
 City of Bunkie                                 1
 City of Carencro                               1
 City of Crowley Police Dept.                   2
 City of DeRidder                               1
 City of Franklin                               6
 City of Grand Coteau Police Dept.              1
 City of Grand Coteau                           1
 City of Eunice Police Dept.                    1
 City of Eunice Library/Theater                 1
 City of Kaplan                                 1
 City of Lake Charles                           8
 City of Lafayette                              61
 City of Lafayette Public Works                 1
 City of Pineville                              3
 City of Oakdale                                3
 City of St. Martinville                        2

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 City Of Natchitoches Utilities                1
 City of New Iberia                            3
 City of Scott                                 2
 City of Sulphur                               2
 City of Vidalia                               3
 City of Winnfield                             6
 Concordia Parish Clerk of Court               1
 Concordia Parish Economic Development         1
 Concordia Parish Fire District #2             2
 Concordia Parish Police Jury                  1
 Concordia Parish School                       3
 Concordia Parish Sheriff’s Dept.              9
 Concordia Parish Swage District 1             1
 Coushatta Tribal Police                       1
 Delcambre Police Department                   1
 Delhi Police Department                       1
 DeRidder City Police Dept.                    2
 DeRidder First Dist. 3                        3
 DeRidder Fire Department                      1
 Deville Parish Farm                           1
 Deville Volunteer Fire Dept                   1
 Desoto Parish Clerk of Court                  1
 East Carroll Parish Prison Farm               1
 Evangeline Parish Clerk of Court              1
 Evangeline Parish Coroner                     1
 Evangeline Parish District Attorney           1
 Evangeline Parish Police Jury                 5
 Evangeline Parish Solid Waste Comm.           2
 Evangeline Parish Tax Assessor                1
 Evangeline Parish Water                       1
 Evangeline Parish Sheriff Dept.               1
 Evangeline Parish 911                         1
 Fire Protection District                      4
 Fort Polk Military Police                     1
 Franklin Parish Ambulance                     5
 Franklin Parish Head Start                    1
 Franklin Parish Police Jury                   2
 Franklin Parish Sheriff                       7
 Grant Parish Assessor’s Office                2
 Grant Parish District Attorney                1
 Grant Parish Fire District #5                 2
 Grant Parish Clerk of Court                   1
 Grant Parish Legal Resource                   1
 Grant Parish OCS                              1
 Grnat Parish Sheriffs’ Office                 1
 Iberia Parish District Attorney               1
 Iberia Parish District Station 200            1
 Iberia Parish Gov’t                           2
 Iberia Parish School Board                    6
 Iowa Police Jury                              7
 Jeff Davis Parish Econ Devlp Office           3
 Jeff Davis Police Parish Coroners             1

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 Jeff Davis Fire Dist. 4                         1
 Kinder Police Dept.                             1
 Krotz Police Dept.                              1
 Lake Charles City Court                         2
 Lake Charles Fire Dept.                         8
 Lafayette City Police                           13
 Lake Charles Police Jury                        43
 Lake Charles City Police                        29
 Lake Charles Tax Assessor                       2
 Lafayette Parish Credit Union                   2
 Lafayette Parish D.A.                           2
 Lafayette Parish Headstart Program              3
 Lafayette Parish School Board Career Center     1
 Lafayette Parish School Board                   64
 Lafayette Parish Sheriff                        2
 Lafayette Parish Teach Fed Crdt Un              1
 Lafayette Parish Assoc of Educators             16
 Lafayette Fire Department                       36
 Lafayette Fire & Safety                         2
 Lafayette Firefighters     Assn.                16
 Lasalle Parish Clerk of Court                   3
 Lasalle Parish Comm. District                   1
 Lasalle Parish District Attorney                1
 Lasalle Parish School Board                     5
 Lassalle Parish Police Jury                     2
 Leesville City Marhsals Office                  1
 Leesville Police & Public Works                 3
 Leesville Police Dept.                          1
 Livingston Parish Fire Protection               1
 Loreauville Police Dept.                        3
 Louisiana A/G Deaf Ministries                   1
 Louisiana Occupational Health Srvs.             1
 Louisiana State Employees                       18
 Louisiana State Police                          88
 Louisiana State Troopers                        25
 Madison parish Clerk of Court                   1
 Madison Parish School Board                     1
 Madison Parish Police                           7
 Mamou Police Department                         6
 Marksville Police Department                    1
 Mendon Police Department                        2
 Milton Fire Department                          3
 Morehouse Parish Farm                           2
 Morehouse Parish School Board                   4
 Morehouse Parish Sheriff                        5
 Morehouse Parish Tax Assessor                   1
 Morgan City Court Prob.                         1
 Morrow Fire Dept.                               1
 Natchitoches Cty/Parish Affiliation             3
 Natch. Parish School Affiliation                1
 Natchitoches Parish School Board                1
 Natchitoches Fire Dist.                         1

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 Natchitoches Parish Department                  1
 Natchitoches Parish Library                     2
 Natchitoches Parish Police Jury                 2
 New Iberia Police Dept.                         1
 Parks Police Department                         1
 Pine Prairie Police Dept.                       1
 Point Coupee Parish                             1
 Pointe Coupee Parish Sheriffs’ Office           1
 Ragley Police Jury                              1
 Rapides Parish Police                           2
 Rapides Parish District Attorney                1
 Rapides Parish District Attorney                2
 Rapides Parish Coroners Office                  2
 Rapides Parish Dept. of Social Services         4
 Rapides Parish Fire Dist. 4                     1
 Rapides Gas Utility District 2                  1
 Rapides Parish Library                          2
 Rapides Parish Employee Affiliation             3
 Rapides Parish School Board                     9
 Rapides Parish Sheriff                          615
 Rapides Parish Clerk of Court                   1
 Rapides Parish Housing Authority                2
 Rapides Parish Police Jury                      10
 Rapides Parish Public Defenders                 1
 Rapides Parish Water District
 Sabine Parish Fire District                     1
 Sabine Parish School Board                      2
 Sabine Parish Sheriff Office                    72
 Sabine Parish Tourist Commission                1
 St Landry Parish Gov’t                          1
 St. Martin Parish                               1
 St Martin Parish Police Jury                    2
 St Mary Parish Gov’t                            1
 St Mary Parish Rec District # 1                 1
 St. Landry Parish Clerk of Court                1
 St. Landry Parish Police Jury                   1
 St. Landry Parish School                        2
 St Landry Parish Communications                 1
 St. Martin Parish Co-op                         1
 St. Martin Parish Library                       5
 St. Martin Parish Police                        1
 St. Martin Parish School Bd.                    28
 St. Martin Parish Sheriff                       10
 St. Martinville Police Jury                     4
 St. Mary Parish Clerk of Court                  1
 St. Mary Parish Recreation Dept.                1
 St. Mary Parish Sales Tax                       7
 St. Mary Parish School                          64
 St. Mary Parish Special Services                2
 Starks Police Jury                              3
 State of LA                                     36
 State of LA- Dept of DNR                        1

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 State of LA- Wildlife & Fisheries              1
 State of LA Military Department                2
 State of LA- Office of Comm Services           2
 State of LA- Office of Family Services         1
 State of Louisiana Health Department           3
 State Of Louisiana/Child SPE- Abbeville        1
 Sulphur Firefighters                           1.
 Sulphur Police                                 38
 Sulphur Tax Assessor                           1
 Tensas Parish Assessor’s Office                1
 Tensas Parish Fire District                    1
 Tensas Parish Library                          1
 Tensas Parish Police Jury                      1
 Tensas Parish Sheriff Dept.                    2
 Town of Arnaudville                            1
 Town of Church Point                           2
 Town of Cottonport Police Dept.         1
 Town of Elizabeth                              1
 Town of Eunice Police Dept.                    1
 Town of Forest Hill Fire Dept.                 1
 Town of Iota                                   1
 Town of Melville                               1
 Town of Mamou                                  1
 Town of Mamou St. Dept.                        1
 Town of Mamou Wastewater Dept.                 1
 Town of Oberlin                                1
 Town of Ridgecrest                             1
 Town of Washington                             1
 Vermilion Parish District No. 2                1
 Vermilion Parish Police Jury                   3
 Vermilion Parish School Board                  2
 Vermilion Parish Water District                1
 Vernon Parish Assessor                         1
 Vernon Parish Clerk of Court                   1
 Vernon Parish Council on Aging                 1
 Vernon Parish District Attorney                1
 Vernon Parish Fire District one                1
 Vernon Parish Health Unit                      1
 Vernon Parish Library                          1
 Vernon Parish Office Community Services        5
 Vernon Parish Police Jury                      3
 Vernon Parish School Board                     1
 Vernon Parish Sheriff                          108
 Vernon Parish Tourism Commission               1
 Village of Dry Prong                           1
 Village of Florien                             2
 Village Of Forest Hill Police Dept.            1
 Village of Georgetown                          1
 Village Of McNary                              1
 Vinton Police Jury                             3
 Village of Moreauville                         1
 Village of Parks                               1

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 Ward Fire Dist 1                                           1
 Ward 5 Fire Protective, Turkey Creek                       1
 Welsh Fire Department                                      1
 West Carroll Parish Police Jury                            1
 Westlake Police Jury                                       2
 Winn Parish Assessor’s Office                              1
 Winn Parish Council on Aging                               1
 Winn Parish Health Unit                                    1
 Winn Parish Police Jury                                    1
 Winn Parish Sheriff Office                                 2
 Winn Parish Tax Assessor                                   1
 Win Parish Clerk of Court                                  1

 Specifically, Louisiana Revised Statute 42:263 identifies the procedure for representing a governmental entity in

 litigation.2 Plaintiffs previously complied with same for Town of Delcambre, City of Jeanerette and the Iberia

 Parish Sheriff.3 In order to confirm same, Plaintiffs contacted the Attorney General’s office, who confirmed this

 was the proper procedure for representing entities falling under the statute.4

           To the extent this Honorable Court certifies this action against the remaining governmental customers of

 Centennial for the State of Louisiana, Plaintiffs will pursue the same process and seek approval from every entity

 listed in order to comply with any statutory requirements for certification.

 II.       LAW AND ARGUMENT

           Louisiana Revised Statute 42:263 provides the following procedure for representing a governmental entity

 in litigation:5

           No parish governing authority…parish school board, city school board, or other local or state
           board shall retain or employ any special attorney or counsel to represent it in any special matter
           or pay any compensation for any legal services whatever unless a real necessity exists, made to
           appear by a resolution thereof stating fully the reasons for the action and the compensation to be
           paid. The resolution then shall be subject to the approval of the attorney general and, if
           approved by him, shall be spread upon the minutes of the body and published in the official
           journal of the parish.6

 This means that to pursue litigation for THESE ENTITIES ONLY, one must follow this procedure. Plaintiff did

 so, despite it being unnecessary as to current class representatives, but was not commanded to do so, by law.

           To confirm the foregoing, Plaintiffs contacted the Attorney General, who responded confirming


 2 See LSA-RS 42:263, attached hereto as Exhibit “2.”
 3 See Resolutions, attached hereto, in globo, as Exhibit “3.”
 4 See Confirmation of Procedure, attached hereto as Exhibit “4.”
 5 See Exhibit “2.”




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 Plaintiffs’ understanding.7 Further, it was made clear that not all entities fell under the statute’s protection and the

 requirements were not for all entities, but was specific to the identified entities in the statute.8

          Considering the foregoing, the Court should certify the class and propose an approval period, just like a

 typical opt out period for certified entities. Within that time, Plaintiffs will obtain the required approval for

 entities requiring the statutory approval.

 III.     CONCLUSION

          Plaintiffs meet all requirements of Federal Rule of Civil Procedure 23 for certifying this matter as a class

 action. The foregoing clearly outlines that Louisiana Revised Statute 42:263 does not inhibit or prohibit certifying

 this matter as a class action and that once this matter is certified, approval of each entity will satisfy the statutory

 requirements for any entity subject to the statute’s requirements.

          Plaintiffs pray this matter be certified as a class action and for any and all other equitable and just relief to

 which they are entitled.

                                                                  Respectfully:
                                                                  Law Offices of D. Patrick Daniel, Jr., LLC




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                                                                  Post Office Drawer 51709
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                                                                  Email:           patrick@dpdlawfirm.com
                                                                  LIAISON COUNSEL
                                                                  STEERING COMMITTEE FOR CLASS




 6 See Exhibit “2.”
 7 See Exhibit “4.”
 8 See Exhibits “2” and “4.”



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                                       CERTIFICATE OF SERVICE
          I HEREBY CERTIFY that a copy of the above and foregoing has been served on all counsel of
 record, from Lafayette, Louisiana on January 24, 2011, in this proceeding by:
            Hand Delivery                             Prepaid U.S./Certified Mail
     X      Facsimile/Electronic Mail                 Federal Express/Courier




                                        D. PATRICK DANIEL, JR.




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